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4
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6

7                           IN THE UNITED STATES DISTRICT COURT

8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,              )    2:07-cr-00248-WBS-8
                                            )
11                             Plaintiff,   )
                                            )    UNOPPOSED REQUEST TO MODIFY
12   v.                                     )    BRIEFING SCHEDULE;
                                            )    ORDER
13                                          )
     BISMARK MARTIN OCAMPO,                 )
14                                          )
                             Defendant.     )
15   __________________________________     )

16           On June 15, 2015, Defendant, BISMARK MARTIN OCAMPO, filed a pro se

17   motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2).      CR 1338.

18   Thereafter, undersigned counsel was appointed to represent Mr. Ocampo.     CR

19   1367.   On November 20, 2015, the Court set a briefing schedule beginning with

20   the defense’s amended motion to reduce sentence.    CR 1368.   For the reasons

21   set forth below, the parties file this stipulated request to vacate the

22   current briefing schedule and re-set a new briefing schedule as follows:

23           Amended motion to reduce sentence          February 12, 2016

24           Government’s opposition                    February 26, 2016

25           Defendant’s reply, if any                  March 4, 2016

26           Mr. Ocampo entered his guilty plea pursuant to Federal Rule of Criminal

27   Procedure 11(c)(1)(C).    See Exhibit A to government’s opposition to motion to

28   reduce sentence pursuant to § 3582(c)(2).   CR 1343-1.   In United States v.



                         UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 1
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1    Austin, 676 F.3d 924 (9th Cir. 2012), the Ninth Circuit held that an

2    11(c)(1)(C) binding plea agreement must make clear the particular Guideline

3    range on which the defendant’s sentence was based in order for the defendant

4    to be eligible for a reduction under 18 U.S.C. § 3582(c)(2).   The Austin

5    court based its holding on Justice Sotomayor’s opinion in Freeman v. United

6    States, 131 S. Ct. 2685 (2011)(a fractured 4-1-4 opinion), concluding that

7    such opinion is the controlling opinion of the United States Supreme Court

8    pursuant to Marks v. United States, 430 U.S. 188 (1977) (“Justice Sotomayor’s

9    concurrence is the controlling opinion because it reached this conclusion

10   [that a (c)(1)(C) agreement did not bar eligibility for a sentence reduction]

11   on the ‘narrowest grounds.’” Austin, 676 F. 3d at 927-28). In January 2015,

12   the Ninth Circuit affirmed Austin in United States v. Davis, 776 F.3d 1088

13   (9th Cir. 2015), in a 2-1 opinion. The defense does not dispute that Ninth

14   Circuit law under Austin and Davis precludes a reduction in Mr. Ocampo’s case

15   based on the fact that his binding plea agreement does not contain reference

16   to a particular guideline range as the basis for the stipulated sentence.

17         However, in her concurrence in Davis, Judge Berzon called for en banc

18   review to consider whether Austin was correctly decided. Davis, 776 F.3d at

19   1091. The Ninth Circuit granted en banc review of Davis on August 6, 2015,

20   and heard oral argument on September 10, 2015, but has not yet issued a

21   ruling.   If this Circuit rejects Austin’s finding that Justice Sotomayor’s

22   opinion controls on the very issue barring Mr. Ocampo from the requested

23   relief, the Ninth Circuit may fashion a new and different rule that would be

24   applicable to Mr. Ocampo's case. In other words, the parties respectfully

25   submit that this Court should await the resolution of the petition for en

26   banc review in Davis to ascertain the law to be applied to Mr. Ocampo’s

27   motion for a sentence reduction.

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                        UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 2
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 1            Therefore, the parties respectfully stipulate and request that this

 2   Court modify the briefing schedule as set forth above.

 3   Dated: December 28, 2015                       BENJAMIN WAGNER
                                                    United States Attorney
 4
                                            By:      /s/ Jason Hitt
 5                                                  JASON HITT
                                                    Assistant United States Attorney
 6

 7
     Dated: December 28, 2015               /s/ Erin J. Radekin
 8                                          ERIN J. RADEKIN
                                            Attorney for Defendant
 9                                          BISMARK MARTIN OCAMPO

10
                                            ORDER
11
              Pursuant to the parties’ stipulation, and good cause appearing, it is
12
     hereby ordered that the briefing schedule relating to defendant’s motion
13
     pursuant to § 3582(c)(2) be modified as follows:
14
              Amended motion to reduce sentence           February 12, 2016
15
              Government’s opposition                     February 26, 2016
16
              Defendant’s reply, if any                   March 4, 2016
17
     Dated:    December 28, 2015
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                          UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 3
